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   12
                             UNITED STATES DISTRICT COURT
   13
                            CENTRAL DISTRICT OF CALIFORNIA
   14

   15    COVVES, LLC,                            Case No. 2:18-CV-8518-RGK-AFM
   16                   Plaintiff,               JOINT STIPULATION OF
                                                 VOLUNTARY DISMISSAL
   17          v.                                WITHOUT PREJUDICE
   18    DILLARD’S, INC. a                       Hon. R. Gary Klausner
         Delaware Corporation; et al.            United States District Court Judge
   19                                            Trial Date: January 14, 2020
                           Defendants.           Time: 9:00 a.m.
   20                                            Courtroom: 850, 255 E. Temple St.,
                                                 Los Angeles, CA 90012
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                                                              JOINT STIPULATION OF DISMISSAL
                                                                           WITHOUT PREJUDICE
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    1         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
    2   Plaintiff Covves, LLC (“Covves”) and Defendants Dillard’s, Inc., Kohl’s
    3   Corporation, Saks & Company, LLC, Target Brands, Inc., Express, Inc., Tilly’s,
    4   Inc., Nordstrom, Inc., West Marine, Inc., and Zulily, Inc. (together, “Defendants”)
    5   hereby stipulate as follows:
    6   1.    Covves and Defendants’ indemnitors, BigMouth Inc. and BigMouth LLC
    7         (together, “BigMouth”), have entered into a confidential settlement
    8         agreement providing for payment of certain sums by BigMouth to Covves,
    9         the last of which is due approximately two years from January 7, 2020.
   10   2.    Upon payment in full of the sums owing to Covves by BigMouth, Covves
   11         agrees to the voluntary dismissal with prejudice of any and all claims against
   12         Defendants that have been asserted in this case.
   13   3.    The parties have agreed that until such time as the final payment is
   14         completed, the Court shall retain jurisdiction to enforce the settlement
   15         agreement and the parties shall agree to dismiss the action without prejudice.
   16   4.    Each party will bear its own attorneys’ fees and costs.
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         DATED: January 8, 2020                    THE MCARTHUR LAW FIRM, PC
   19

   20                                              By: /s/Stephen McArthur
                                                      Stephen McArthur
   21                                                 Thomas Dietrich
                                                      Attorneys for Plaintiff Covves, LLC
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   23    DATED: January 8, 2020                    K&L GATES LLP
   24
                                                   By: /s/Morgan Nickerson
   25                                                  Morgan Nickerson
                                                       Caitlin C. Blanche
   26                                                 Attorneys for Defendants
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                                                                  JOINT STIPULATION OF DISMISSAL
                                                                               WITHOUT PREJUDICE
                                                  -1-                 Case No. 2:18-cv-8518-RGK-AFM
